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                       Exhibit 11
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INTERDIGITAL v LENOVO                                                       09 MARCH 2021                                              PROCEEDINGS - DAY 5

                                                                                                                                                  [Page 669]
       IN THE HIGH COURT OF JUSTICE                  Claim No. HP-2019-000032        1                    VALENTI - CAMPBELL
       BUSINESS AND PROPERTY COURTS
       OF ENGLAND AND WALES                                                          2      systems", so that is the correction. I said: "So, if 0 and 1
       INTELLECTUAL PROPERTY LIST (ChD)
       PATENTS COURT                                                                 3      were equally likely, which is not the case in a typical data
                                  The Rolls Building
                                  7 Rolls Buildings                                  4      transmission system," that should say, "So, if 0 and 01 were
                                  Fetter Lane
                                  London EC4A 1NL
                                                                                     5      likely, which is the case in a typical data transmission", and
                                  Tuesday, 9th March 2021                            6      then goes on to say, "yes, BPSK has a better error rate".
                             Before:
                        HIS HONOUR JUDGE HACON                                       7   THE JUDGE: You wanted to delete the word "not"?
                 (sitting as a Judge of the High Court)
                           ---------------                                           8   A. I just want to delete the word "not. I believe it to be a
       BETWEEN:
                  (1) INTERDIGITAL TECHNOLOGY CORPORATION                            9      transcription error. I have not watched the video so I may
                 (2) INTERDIGITAL PATENT HOLDINGS, INC.
                        (3) INTERDIGITAL, INC.                                      10      have misspoken or talked too quickly.
                    (4) INTERDIGITAL HOLDINGS, INC.
                                            Claimants                               11   THE JUDGE: Okay, that is fine. Mr. Campbell will follow up on
                              - and -                                               12      that if he feels he needs to. Mr. Campbell?
                       (1) LENOVO GROUP LIMITED
                     (2) LENOVO (UNITED STATES) INC.                                13   MR. CAMPBELL: Thank you, my Lord. Where we left yesterday in the
               (3) LENOVO TECHNOLOGY (UNITED KINGDOM) LIMITED
                       (4) MOTOROLA MOBILITY LLC                                    14      cross-examination, Professor Valenti, was I was asking you
                    (5) MOTOROLA MOBILITY UK LIMITED
                                            Defendants                              15      about Laroia. I do not think you really need Laroia, but if
                           ---------------
                 (Transcript of the Stenograph Notes of                             16      you would like to take out Laroia, it is B2, and it is the
            Marten Walsh Cherer Ltd., 2nd Floor, Quality House,
             6-9 Quality Court, Chancery Lane, London WC2A 1HP.                     17      passage bridging pages 8 and 9. Do you remember I was asking
            Telephone No: 020 7067 2900. Fax No: 020 7831 6864
                   e-mail: info@martenwalshcherer.com)
                                                                                    18      you some questions about this paragraph last night?
                           ---------------                                          19   A. Yes, this is the passage on on-off signalling; yes.
       MR. DOUGLAS CAMPBELL QC, MR. JOE DELANEY and MR. MAXWELL KEAY
         (instructed by Gowling WLG) appeared for the Claimants.                    20   Q. Yes. Okay, now, first of all, Laroia does not say anything
       MR. THOMAS HINCHLIFFE QC, MR. JEREMY HEALD and MS. KYRA NEZAMI               21      about the relative likelihood of sending a state transition
        (instructed by Kirkland & Ellis International LLP) appeared
        for the Defendants.                                                         22      request compared with not sending one, does it?
                     ---------------                                                23   A. In this paragraph he does not talk about that. It would be
                       PROCEEDINGS
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                                                                                    24      understood that you would be sending such state transition
                  Remotely via Microsoft Teams                                      25      requests fairly infrequently but, yes, this paragraph does not
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                                                                 [Page 668]                                                                       [Page 670]
  1                                                                                  1                      VALENTI - CAMPBELL
  2             PROFESSOR MATTHEW CHARLES VALENTI, RECALLED                          2      talk about that aspect.
  3               CROSS-EXAMINATION BY MR. CAMPBELL, CONTINUED                       3   Q. Where else does Laroia talk about that aspect? Never mind, we
  4     THE JUDGE: Mr. Campbell?                                                     4      can ----
  5     MR. HINCHLIFFE: My Lord, I hesitate to interrupt at this stage; I            5   A. I am sorry, without referring to the document in its entirety,
  6       have been passed a message overnight that the professor has                6      I cannot think of an example of where it is talking about the
  7       spotted a transcription error on last night's transcript.                  7      relative frequency between on off. I think you would have to
  8       I do not know what it is, but perhaps we can clear that up                 8      look at the document as a whole and understand that these
  9       first thing and then Mr. Campbell can crack on.                            9      state transition requests are going to be less frequent than
 10     THE JUDGE: Okay. Professor, do you have that to hand?                       10      when you would not be requesting a state transition request.
 11     A. Yes, I do. So this is in yesterday's transcript. I looked                11   Q. Okay. Now I want to ask you some questions about the fixed
 12       through the transcript last night and I have caught what                  12      signal that is referred to in this paragraph. I am sure you
 13       I believe to be an error, which is on page 553.                           13      remember Dr. Moss gave evidence that there were three
 14     THE JUDGE: I have it, yes.                                                  14      possibilities for the fixed signal, which were the coded
 15     A. The actually error is at line 13 and there is a word "not"               15      predefined message, the signal whose presence could be
 16       that should not be there. I will read the sentence correctly.             16      detected by the base station without decoding and an
 17       Just to give background, there is a question about BPSK keying            17      unmodulated tone of fixed frequency. Do you remember Dr. Moss
 18       up around line 7. The question was: "And BPSK is better                   18      saying these were the three possibilities?
 19       still than coherent on-off keying because it produces a lower             19   A. Yes, I do.
 20       bit error rate for a given EU transmission power; correct?"               20   Q. And they are all possible, are they not?
 21       My answer at line 10: "That is not always true. In order to               21   A. Certainly, yes. Each one of those could be a possibility. He
 22       compare the two, there are some factors that you would need o             22      was talking about a coded message and that could be a case
 23       consider. Most importantly the frequency and the relative                 23      where a signal is sent and after its presence is detected it
 24       frequency between 0 and 1. So, if 0 and 1 were equally                    24      could be decoded, or it could just be a fixed signal conveying
 25       likely, which is not the case in a typical data transmission              25      a single 8 bit of information that is either detected or not.



                                                                                                                 [1] (Pages 0 to 670)
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                                                             [Page 679]                                                                       [Page 681]
  1                      VALENTI - CAMPBELL                                         1                         VALENTI - CAMPBELL
  2       periodicity to use and which subcarrier to use because that               2        3, which I believe we covered, in which it is talking about
  3       information is necessary to work in any OFDM system; is that              3        signalling resources e.g., time slots or tones may be shared
  4       essentially what you are saying?                                          4        or dedicated. This paragraph goes into some more detail about
  5     A. Well, if the UE needs to be able to transmit over a dedicated            5        the use of time slots and tones. I will call your attention
  6       channel, then there would be -- did we lose someone? I wonder             6        specifically to five rows down, there is a sentence that
  7       if I should pause.                                                        7        begins: "In the case of dedicated resources e.g., with time
  8     MR. CAMPBELL: We may have lost Mr. Hinchliffe.                              8        slots and/or tones being allocated to particular
  9     THE JUDGE: Mr. Hinchliffe, have we lost you? I think we are                 9        communications device or group of devices to the exclusion of
 10       going to have to wait a couple of minutes, please.                       10        other devices for a certain period of time, the problem of
 11     MR. HINCHLIFFE: My Lord, can you hear me?                                  11        possible collision is avoided or reduced." I mean, Laroia is
 12     THE JUDGE: I can now. Did you lose very much?                              12        quite clear here, the UE or the mobile, it has allocated
 13     MR. HINCHLIFFE: My Lord, I apologise, the entire Wi-Fi in                  13        a dedicated control and that dedicated control channel
 14       chambers appears to have gone, so I am currently piggybacking            14        corresponds to an allocated time slot and tones, and of course
 15       off my phone. It may be that the quality is a bit limited.               15        time slots and tones would be periodicity and subcarrier
 16       The last question I had Mr. Campbell asking was your Lordships           16        resources.
 17       said: "You seem to have understood which passage that must               17      Q. So as soon as it mentions time slots and tones that inevitably
 18       mean, but I do not know it. (MR. CAMPBELL) Let us ask                    18        takes you to periodicity and subcarrier resource in your view;
 19       Professor Valenti. Which passage talks about time segments               19        is that right?
 20       and tones that you were referring to?" Then everything went              20      A. Yes. It may be just a matter of mashing up terminology but it
 21       blank after that.                                                        21        is talking about it being allocated. So that part would be
 22     THE JUDGE: Okay. I do not think you missed much, but there you             22        satisfied. Time can be broken up into slots. The different
 23       are, Mr. Campbell, if you could pick it up from that point.              23        slots are used by different users. In order to allocate those
 24     MR. CAMPBELL: Did you have any particular passage in mind? I see           24        time slots to users, the users would have to be told the
 25       you have been looking at the document while Mr. Hinchliffe was           25        periodicity of those time slots. Similarly tones, tones would


                                                             [Page 680]                                                                       [Page 682]
  1                           VALENTI - CAMPBELL                                    1                         VALENTI - CAMPBELL
  2        away. Have you found the passage you had in mind, professor?             2        correspond to subcarrier in an OFDM system. Those terms are
  3     A. Sure. The starting point would be page 7 in the bottom                   3        interchangeable. So allocating tones would be the same thing
  4        paragraph.                                                               4        as allocating subcarrier resources.
  5     Q. The one which begins "Operation of a mobile node in the hold             5   Q. So even quite a general high-level description in a few lines
  6        state ..."?                                                              6        in your view is enough to disclose integer 1C; is that right?
  7     A. Yes. This paragraph is talking about the hold state and it of            7   A. Integer 1C is fairly simple and routine. Those skilled in the
  8        course starts by saying it requires fewer control                        8        art I think would have a pretty clear understanding of what it
  9        communication resources, but it does, of course, require                 9        means and what to look for. Periodicity is the one thing
 10        control communication resources. Then if you drop down seven            10        which just relates to how to allocate resources in the time
 11        lines down there is a sentence beginning "During".                      11        domain. Subcarrier resources would just relate to how to
 12     Q. Yes.                                                                    12        allocate resources in the frequency domain. Those ideas here
 13     A. And it says: "During the hold state timing control signal is            13        are sort of carried over to Laroia. I mean, to the extent
 14        maintained and the mobile node is also allocated a dedicated            14        that it has given probably not much more description here,
 15        control uplink communication resource, e.g., dedicated uplink           15        certainly in the claim and possibly in the patent, it does not
 16        control communications channel, which it can use to request             16        require a whole lot of language for someone skilled in the art
 17        changes to other states." This is kind of the starting point            17        to understand those concepts.
 18        of the explanation, that here it is disclosing that in the              18   Q. Okay. I mean, you have said it is a pretty clear
 19        hold state there is a dedicated control uplink communication            19        understanding that the skilled addressee would have. Is it in
 20        resource. Okay, and then ----                                           20        fact something that is inevitable in any OFDM system?
 21     Q. Is this the passage which discloses the periodicity part of             21   A. Well, it would depend on how you were using the OFDM system.
 22        integer 1C?                                                             22        Not every OFDM system necessarily has allocated resources in
 23     A. Right. To conclude that, then the dedicated uplink control              23        this way. There are OFDM systems where perhaps all of the
 24        communication channel to understand that, this is where you             24        resources are devoted to one user, and that would not be
 25        would want to refer back to, for instance, the bottom of page           25        a system that has scheduling and resource allocation in it.



                                                                                                          [4] (Pages 679 to 682)
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